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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                     :
                                             :
        v.                                   :       Case No. 21-mj-498 (GMH)
                                             :
TREVOR BROWN,                                :
                                             :
                       Defendant.            :

                     UNOPPOSED MOTION TO CONTINUE AND
                 TO EXCLUDE TIME UNDER THE SPEEDY TRIAL ACT

        The United States of America, through the U.S. Attorney for the District of Columbia,

requests that the status conference currently scheduled for March 22, 2022 at 1:00 p.m. be

continued until May 20, 2022 or thereafter, and that the Court exclude the time until that next

status conference date from the time within which the indictment must be returned and the trial

must commence under the Speedy Trial Act, 18 U.S.C. § 3161 et seq., on the basis that the ends

of justice served by taking such actions outweigh the best interest of the public and the defendant

in a speedy trial pursuant to the factors described in 18 U.S.C. § 3161(h)(7)(A), (B)(i), (ii), and

(iv).   In support, the government submits as follows:

        1.      The government outlined in its discovery status memorandum, see Dkt. 25—which

is incorporated herein by reference—the significant additional discovery provided to the defendant

in this case, the process for accessing and reviewing that discovery, and the outstanding discovery

that remains.

        2.      The Capitol Attack is likely the most complex investigation ever prosecuted by the

Department of Justice.    Producing and reviewing the voluminous production materials will take

time.   The need for reasonable time to organize, produce, and review voluminous discovery is

among multiple pretrial preparation grounds that Courts of Appeals have routinely held sufficient
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to grant continuances and exclude the time under the Speedy Trial Act. See, e.g., United States

v. Bikundi, 926 F.3d 761, 777-78 (D.C. Cir. 2019)(Upholding ends-of-justice continuances totaling

18 months in two co-defendant health care fraud and money laundering conspiracy case, in part

because the District Court found a need to “permit defense counsel and the government time to

both produce discovery and review discovery”); United States v. Bell, 925 F.3d 362, 374 (7th Cir.

2019)(Upholding two-month ends-of-justice continuance in firearm possession case, over

defendant’s objection, where five days before trial a superseding indictment with four new counts

was returned, “1,000 pages of new discovery materials and eight hours of recordings” were

provided, and the government stated that “it needed more than five days to prepare to try [the

defendant] on the new counts”).

       3.      Due to the number of individuals currently charged across the Capitol Attack

investigation and the nature of those charges, the on-going investigation of many other individuals,

the volume and nature of potentially discoverable materials, and the reasonable time necessary for

effective preparation by all parties taking into account the exercise of due diligence, the failure to

grant such a continuance in this proceeding would be likely to make a continuation of this

proceeding impossible, or result in a miscarriage of justice.      Accordingly, the ends of justice

served by granting a request for a continuance outweigh the best interest of the public and the

defendant in a speedy trial.

       4.      The Government has conferred with defense counsel concerning this motion, and

defense counsel consents to the motion.

       5.      Wherefore, the government respectfully requests that this Court grant the motion

for a 60-day continuance of the above-captioned proceeding, and that the Court exclude the time

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within which an indictment must be filed under the Speedy Trial Act, 18 U.S.C. § 3161 et seq., on

the basis that the ends of justice served by taking such actions outweigh the best interest of the

public and the defendant in a speedy trial pursuant to the factors described in 18 U.S.C. §

3161(h)(7)(A), (B)(i), (ii), and (iv).

                                               Respectfully submitted,

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